Case 1:03-cr-01368-ARR   Document 190   Filed 05/18/05   Page 1 of 6 PageID #: 351
Case 1:03-cr-01368-ARR   Document 190   Filed 05/18/05   Page 2 of 6 PageID #: 352
Case 1:03-cr-01368-ARR   Document 190   Filed 05/18/05   Page 3 of 6 PageID #: 353
Case 1:03-cr-01368-ARR   Document 190   Filed 05/18/05   Page 4 of 6 PageID #: 354
Case 1:03-cr-01368-ARR   Document 190   Filed 05/18/05   Page 5 of 6 PageID #: 355
Case 1:03-cr-01368-ARR   Document 190   Filed 05/18/05   Page 6 of 6 PageID #: 356
